Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 1 of 12 PagelD #: 40

ALK:IC/RSB
F, #2018R02187

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
ee Ge MEA RED Bes Met eas ERE ani xX

UNITED STATES OF AMERICA
- against -

IOAN-ANTON GHERASIM, also
known as “Ryan Anthony,”

ELVIS DAN ATOMEI,

DAN ADRIAN AGAFITEL, also known
as “Federico Cousa,” “Luciano
Manzatti” and “Coval Tiago,”

BOBI BORCEA, also known as “Bobi
Agafitei,”

RAZVAN VICOL, also known as

“Razvan Neagu,” “Geoffrey
Pasek” and “Ruben Robles de la
Torre,” and

Defendants.

THE GRAND JURY CHARGES:

FILED

IN CLERK'S OFFICE

US DISTRICT COURT E.D.N.Y.
FEBRUARY 21, 2024

BROOKLYN OFFICE

INDICTMENT

Cr. No. _24-CR-78

(T. 18, U.S.C., §§ 982(a)(2), 982(b)(1),
L028A(a)(1), LO28A(b), 1028A(c)(4),
1029(a)(1), 1029(a)(4),
1029(c)(1)(A)(i), 1029(c)(1 (Ai),
1029(c)(1)(C), 1029(c)(2), 1349, 2 and
3551 et seq.; T. 21, U.S.C., § 853(p))

Judge Dora Lizette Irizarry
Magistrate Judge Peggy Kuo
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 2 of 12 PagelD #: 41

COUNT ONE
(Access Device Fraud)

l. On or about and between TT | both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
rms
ee (0¢ether with others, did knowingly and with intent to defraud

have control and custody of and possess device-making equipment.

(Title 18, United States Code, Sections 1029(a)(4), 1029(c)(1)(A)(ii), 2 and 3551

COUNT TWO
(Access Device Fraud)

2. On or about and between RE . both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
doen rg

GN 0 gether with others, did knowingly and with intent to defraud have control
and custody of and possess device-making equipment.

(Title 18, United States Code, Sections 1029(a)(4), 1029(c)(1)(A)(ii), 2 and 3551

COUNT THREE
(Access Device Fraud)

3. On or about July 3, 2022, within the Eastern District of New York and
elsewhere, the defendant ELVIS DAN ATOMEI, together with others, did knowingly and with
intent to defraud have control and custody of and possess device-making equipment.

(Title 18, United States Code, Sections 1029(a)(4), 1029(c)(1)(A)(ii), 2 and 3551

et seq.)
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 3 of 12 PagelD #: 42

COUNT FOUR
(Access Device Fraud)

4. On or about MM. within the Eastern District of New York and
elsewhere, the defendants nn
GR 0 gether with others, did knowingly and with intent to defraud use one or more
counterfeit access devices, to wit: credit cards, debit cards, account numbers and corresponding
personal identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i), 2 and 3551
et seq.)

COUNT FIVE
(Aggravated Identity Theft)

5, On or about J. within the Eastern District of New York and
elsewhere, the defendants
GR 0. ether with others, during and in relation to the crime charged in Count Four,
did knowingly and intentionally transfer, possess and use, without lawful authority, one or more
means of identification of one or more other persons, to wit: credit cards, debit cards, account
numbers and corresponding personal identification numbers issued in the names of other
persons whose identities are known to the Grand Jury, knowing that such means of
identification belonged to said persons.

(Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(4), 2
and 3551 et seq.)

COUNT SIX
(Access Device Fraud)

6. On or about and between July 4, 2022 and July 6, 2022, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 4 of 12 PagelD #: 43

defendants ELVIS DAN ATO MF

GE together with others, did knowingly and with intent to defraud use one or more
counterfeit access devices, to wit: credit cards, debit cards, account numbers and corresponding
personal identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i), 2 and 3551

COUNT SEVEN
(Aggravated Identity Theft)

7. On or about and between July 4, 2022 and July 6, 2022, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendants ELVIS DAN ATOM 7]
GRE (ogether with others, during and in relation to the crime charged in Count Six, did
knowingly and intentionally transfer, possess and use, without lawful authority, one or more
means of identification of one or more persons, to wit: credit cards, debit cards, account
numbers and corresponding personal identification numbers issued in the names of other
persons whose identities are known to the Grand Jury, knowing that such means of
identification belonged to said persons.

(Title 18, United States Code, Sections 1028A(a)(1), LO28A(b), 1028A(c)(4), 2

COUNT EIGHT
(Access Device Fraud)

8. On or about iit. within the Eastern District of New York and
elsewhere, the defends
I 021: it othe,
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 5 of 12 PagelD #: 44

WN

did knowingly and with intent to defraud use one or more counterfeit access devices, to wit:
credit cards, debit cards, account numbers and corresponding personal identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i), 2 and 3551
et seq.)

COUNT NINE
(Access Device Fraud)

9. On or about July 13, 2022, within the Eastern District of New York and
elsewhere, the defendants DAN ADRIAN AGAFITEI, also known as “Federico Cousa,”
“Luciano Manzatti” and “Coval Tiago,” and MG . together with others, did
knowingly and with intent to defraud use one or more counterfeit access devices, to wit: credit
cards, debit cards, account numbers and corresponding personal identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i), 2 and 3551
et seq.)

COUNT TEN
(Access Device Fraud)

10. On or about iG within the Eastern District of New York and

elsewhere, the defendants Ii
Ss © 2cther with others, did knowingly and with intent to defraud use one or

more counterfeit access devices, to wit: credit cards, debit cards, account numbers and
corresponding personal identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i). 2 and 3551

et seq.)
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 6 of 12 PagelD #: 45

COUNT ELEVEN
(Aggravated Identity Theft)

Il. On or about J. within the Eastern District of New York and
elsewhere, the defendants
Se 0 gcther with others, during and in relation to the crime charged in Count
Ten, did knowingly and intentionally transfer, possess and use, without lawful authority, one or
more means of identification of one or more other persons, to wit: credit cards, debit cards,
account numbers and corresponding personal identification numbers issued in the names of
other persons whose identities are known to the Grand Jury, knowing that such means of
identification belonged to said persons.

(Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(4), 2
and 3551 et seq.)

COUNT TWELVE
(Access Device Fraud)

12. On or about September 28, 2022, within the Eastern District of New York
and elsewhere, the defendants BOBI BORCEA, also known as “Bobi Agafitei,”
GB and RAZVAN VICOL, also known as “Razvan Neagu,” “Geoffrey Pasek” and “Ruben
Robles de la Torre,” together with others, did knowingly and with intent to defraud use one or
more counterfeit access devices, to wit: credit cards, debit cards, account numbers and
corresponding personal identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i), 2 and 3551

et seq.)
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 7 of 12 PagelD #: 46

COUNT THIRTEEN
(Aggravated Identity Theft)

13. On or about September 28, 2022, within the Eastern District of New York
and elsewhere, the defendants BOBI BORCEA, also known as “Bobi Acafitci, iii
GB and RAZVAN VICOL, also known as “Razvan Neagu,” “Geoffrey Pasek” and “Ruben
Robles de la Torre,” together with others, during and in relation to the crime charged in Count
Twelve, did knowingly and intentionally transfer, possess and use, without lawful authority, one
or more means of identification of one or more persons, to wit: credit cards, debit cards, account
numbers and corresponding personal identification numbers issued in the names of other
persons whose identities are known to the Grand Jury, knowing that such means of
identification belonged to said persons.

(Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(4), 2
and 3551 et seq.)

COUNT FOURTEEN
(Access Device Fraud)

14. Onor about February 7, 2023, within the Eastern District of New York
and elsewhere, the defendant [OAN-ANTON GHERASIM, also known as “Ryan Anthony,”
together with others, did knowingly and with intent to defraud use one or more counterfeit
access devices, to wit: credit cards, debit cards, account numbers and corresponding personal
identification numbers.

(Title 18, United States Code, Sections 1029(a)(1), 1029(c)(1)(A)(i), 2 and 3551

et seq.)
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 8 of 12 PagelD #: 47

COUNT FIFTEEN
(Aggravated Identity Theft)

15. On or about February 7, 2023, within the Eastern District of New York
and elsewhere, the defendant [OAN-ANTON GHERASIM, also known as “Ryan Anthony,”
together with others, during and in relation to the crime charged in Count Fourteen, did
knowingly and intentionally transfer, possess and use, without lawful authority, one or more
means of identification of one or more other persons, to wit: credit cards, debit cards, account
numbers and corresponding personal identification numbers issued in the names of other
persons whose identities are known to the Grand Jury, knowing that such means of
identification belonged to said persons.

(Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(4), 2

COUNT SIXTEEN
(Conspiracy to Commit Bank Fraud)

16. [In or about and between July 2022 and August 2022, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants ELVIS DAN ATOMEI, DAN ADRIAN AGAFITEI, also known as “Federico

Cousa,” “Luciano Manzatti” and “Coval Tiago,”
o
(0 cether with others, did knowingly and intentionally conspire to

execute a scheme and artifice to defraud one or more financial institutions, the deposits of
which were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds,

credits, assets and other property owned by and under the custody and control of such financial
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 9 of 12 PagelD #: 48

institutions by means of one or more materially false and fraudulent pretenses, representations
and promises, contrary to Title 18, United States Code, Section 1344.
(Title 18, United States Code, Sections 1349 and 3551 et seq.)

COUNT SEVENTEEN
(Conspiracy to Commit Bank Fraud)

17. In or about September 2022, within the Eastern District of New York and
elsewhere, the defendants BOBI BORCEA, also known as “Bobi Agafitei,” iii
GB and RAZVAN VICOL, also known as “Razvan Neagu,” “Geoffrey Pasek” and “Ruben
Robles de la Torre,” together with others, did knowingly and intentionally conspire to execute a
scheme and artifice to defraud one or more financial institutions, the deposits of which were
insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, credits,
assets and other property owned by and under the custody and control of such financial
institutions by means of one or more materially false and fraudulent pretenses, representations
and promises, contrary to Title 18, United States Code, Section 1344.

(Title 18, United States Code, Sections 1349 and 3551 et seq.)

CRIMINAL FORFEITURE ALLEGATION
AS TO COUNTS ONE THROUGH FOUR, SIX,
EIGHT THROUGH TEN, TWELVE AND FOURTEEN

18. | The United States hereby gives notice to the defendants charged in Counts
One through Four, Six, Eight through Ten, Twelve and Fourteen that, upon their conviction of
any such offenses, the government will seek forfeiture in accordance with: (a) Title 18, United
States Code, Section 982(a)(2)(B), which requires any person convicted of such offenses to

forfeit any property constituting, or derived from, proceeds obtained directly or indirectly as a

result of such offenses; and (b) Title 18, United States Code, Section 1029(c)(1)(C), which
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 10 of 12 PagelD #: 49

10

requires any person convicted of such offenses to forfeit any personal property used or intended
to be used to commit the offenses.
19. [f any of the above-described forfeitable property, as a result of any act or
omission of the defendants:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Sections 982(b)(1) and 1029(c)(2), to seek
forfeiture of any other property of the defendants up to the value of the forfeitable property
described in this forfeiture allegation.
(Title 18, United States Code, Sections 982(a)(2), 982(b)(1), 1029(c)(1)(C) and
1029(c)(2); Title 21, United States Code, Section 853(p))

CRIMINAL FORFEITURE ALLEGATION
AS TO COUNTS SIXTEEN AND SEVENTEEN

20. The United States hereby gives notice to the defendants charged in Counts
Sixteen and Seventeen that, upon their conviction of either such offenses, the government will
seek forfeiture in accordance with Title 18, United States Code, Section 982(a)(2), which
requires any person convicted of such offenses, to forfeit any property constituting, or derived

from, proceeds obtained directly or indirectly as a result of such offenses.
Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 11 of 12 PagelD #: 50

iJ
21. — If any of the above-described forfeitable property, as a result of any act or
omission of the defendants:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value: or

(e) has been commingled with other property which cannot be divided

without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Sections 982(b)(1), to seek forfeiture of any other
property of the defendants up to the value of the forfeitable property described in this forfeiture
allegation.

(Title 18, United States Code, Sections 982(a)(2) and 982(b)(1); Title 21, United

States Code, Section 853(p))

A TRUE BILL

FOREPERSON (

by Neer. Assiatoudl- U.S Ana

BREON PEACE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

Case 1:24-cr-00078-MKB Document 14 Filed 02/29/24 Page 12 of 12 PagelD #: 51

F.#: 2018R02187

FORM DBD-34 No.
JUN. 85

UNITED STATES DISTRICT COURT
EASTERN District of NEW YORK
CRIMINAL DIVISION

THE UNITED STATES OF AMERICA

VS.

IOAN-ANTON GHERASIM, et al.,

Defendants.

INDICTMENT

(T. 18, U.S.C., §§ 982(a)(2), 982(b)(1), 1028A(a)(1), 1028A(b),
1028A(c)(4), 1029(a)(1), 1029(a)(4), 1029(c)(1)(A)(i),
1029(c)(1)(A)(ii), 1029(c)(1)(C), 1029(c)(2), 1349, 2 and 3551 et seq.;
T. 21, U.S.C., § 853(p))

A true bill. ~

_-- news HO

Trisa Chen and Raffaela Belizaire,
Assistant U.S. Attorneys (718) 254-7000
